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                EXHIBIT 5




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Dear Chief Judge Howell,

My name is Allison Murray. I have known Heather Morgan for over 10 years, and I was
recently maid of honor at her wedding. I’ve also known Ilya since their first date over 7
years ago. Based on their close family relationships, positive community of friends, and
desire to start a family, I know in my heart Heather Morgan and Ilya Lichetenstein are
not a flight risk.

Heather and I met in our early 20’s. While we bonded over shared passion for writing,
our deeper connection was formed over our love of our parents as only children. Unlike
most people our age, Heather was excited to bring her parents and cousin to events. They
visited each other often and it was great to know each other’s families. When I went to
visit her parents, Heather gave me the tour of her childhood home with nostalgia and
pride. Her bedroom is filled with memories, her mother collects books, her father has a
mature garden with incredible irises, and Heather’s grandmother lives within walking
distance. Heather would never jeopardize her family, their safety, or their home. I’ve
known her family for years and getting to spend close time all together, I’ve seen the
strong bond between her, her parents, grandmother, and cousins. She would never
abandon her family, risk their home or hard earned retirement.

My first impression of Ilya was that he was whimsical and kind hearted. We have been
close friends ever since. I’ve had to travel to New York for work and, even when Heather
was out of town, Ilya welcomed me to stay in their home. The two of us have spent many
nights cooking and sharing stories. He is proud of his brother and is excited to have a
family of his own. This past fall I was able to finally meet Ilya’s parents and brother in
person and get to know them during the many events around their wedding. He would
never endanger their retirement or his brother’s future. I do not believe he would
intentionally or willingly miss out on being able to visit and share life with his family.

Both Heather and Ilya are deeply caring and they are not a flight risk because all of their
closest family members are based in the US. Nothing can replace those relationships.

Throughout our friendship Heather and Ilya have always been supportive friends and
cared deeply about all of their community. Her family and friends need her. I need her
and she knows this. I hope you will consider my knowledge of their characters and see
their future will be in the USA.

Knowing heather and Ilya for so long, I know they are not a flight risk. I believe that her
bail should be approved.

Sincerely,
Allison Murray
